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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION
                          _____________________________________


BRAIDWOOD MANAGEMENT, INC., et al.,

        Plaintiffs,

v.                                                   Civil Action No. 4:20-cv-00283-O

XAVIER BECERRA, et al.,

        Defendants.


                                   JOINT STATUS REPORT

        The parties have conferred and respectfully submit this Joint Status Report in response to

the Court’s Memorandum Opinion & Order of September 7, 2022 (ECF No. 92).

        The parties believe that there are three remaining issues to be addressed by the Court: (1)

the standing of Plaintiffs other than Braidwood; (2) the claims relating to the contraceptive

coverage requirement; and (3) the scope of remedy.

        The parties propose that all three issues be briefed together on the following schedule:

        1.      Deadline for plaintiffs to file their supplemental motion for summary judgment:
                October 17, 2022.

        2.      Deadline for defendants to file combined response to plaintiffs’ supplemental
                motion for summary judgment and defendants’ supplemental cross-motion for
                summary judgment: 30 days after plaintiff files supplemental motion for summary
                judgment.

        3.      Deadline for plaintiffs to file combined response to defendants’ supplemental
                motion for summary judgment and reply brief in support of plaintiffs’ supplemental
                motion for summary judgment: 30 days after defendants file cross-motion for
                summary judgment.

        4.      Deadline for defendants to file reply brief in support of defendants’ supplemental
                motion for summary judgment: 21 days after plaintiffs file combined response to
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              defendants’ supplemental motion for summary judgment and reply brief in support
              of plaintiffs’ supplemental motion for summary judgment.


                                              Respectfully submitted.

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